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                     UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

 VINCENT MICHAEL MARINO,                :

             Petitioner                 :     CIVIL ACTION NO. 3:20-0648

     v.                                 :          (JUDGE MANNION)

 WARDEN HOWARD,                         :

            Respondent                  :


                                   ORDER

        For the reasons set forth in the Memorandum of this date, IT IS

HEREBY ORDERED THAT:

        1. The petition for writ of habeas corpus (Doc. 1) is DISMISSED
           for lack of jurisdiction.

        2. Petitioner’s motion for immediate release (Doc. 19) is
           DENIED.

        3. Petitioner’s motion to compel (Doc. 17) is DISMISSED as
           moot.

        4. The Clerk of Court is directed to CLOSE this case.



                                            s/ Malachy E. Mannion
                                            MALACHY E. MANNION
                                            United States District Judge

DATE: September 23, 2021
20-0648-01-Order
